972 F.2d 343
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Randy Harold ORR, Defendant-Appellant.
    No. 92-6614.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 6, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Asheville.  Richard L. Voorhees, Chief District Judge.  (CR-90-227-A)
      Randy Harold Orr, Appellant Pro Se.
      Max Oliver Cogburn, Jr., Office of the United States Attorney, Asheville, North Carolina, for Appellee.
      W.D.N.C.
      Affirmed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Randy Harold Orr appeals from the district court's order that denied his motion for sentencing credit under 18 U.S.C. § 3585(b) (1988) for time he spent on pre-trial bond with various conditions.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Orr, No. CR-90-227-A (W.D.N.C. May 27, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    